                               UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN—SOUTHERN DIVISION
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MICHIGAN DEPARTMENT OF                            Case No. 1:18-CV-00039
ENVIRONMENTAL QUALITY,
                                                  Honorable Janet T. Neff
        Plaintiff,                                Magistrate Ellen Carmody

v.                                                INTERVENING PLAINTIFF TOWNSHIPS’
                                                  COMLAINT FOR DECLARATORY AND
WOLVERINE WORLD WIDE, INC.,                       INJUNCTIVE RELIEF

        Defendant,

And

PLAINFIELD CHARTER TOWNSHIP and
ALGOMA TOWNERSHIP,

        Intervening Plaintiffs,

WOLVERINE WORLD WIDE, INC.

        Defendant.
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Brian J. Negele (P41846)                          SILVER & VAN ESSEN, P.C.
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        Intervening Plaintiffs, The Charter Township of Plainfield (“Plainfield”) and Algoma

Township (“Algoma”), by and through their attorneys, Silver & Van Essen, P.C., for their

Intervening Complaint against Defendant Wolverine World Wide, Inc. (Wolverine), state as

follows:

                                         INTRODUCTION

        1.      On January 10, 2018, the Plaintiff, the Michigan Department of Environmental

Quality (“MDEQ”) filed this civil action for declaratory and injunctive relief, and costs and fees,

under the citizen suit provision of the Resource Conservation and Recovery Act (RCRA), 42 U.S.C.

§ 6901, et seq., specifically Section 7002(a)(1)(B) of RCRA, 42 U.S.C. § 6972(a)(1)(B), and Part 201,

Environmental Remediation, of the Michigan Natural Resources and Environmental Protection

Act (NREPA) (Part 201), M.C.L. § 324.20101 et seq., and Part 31, Water Resources Protection, of the NREPA

(Part 31), M.C.L. § 324.3101 et seq., specifically M.C.L. § 324.20137 and M.C.L. § 324.3109.

        2.      The MDEQ alleges that Wolverine has contributed and continues to contribute to

the past and present handling, storage, treatment, transportation, and/or disposal of solid waste

at properties owned by Wolverine, and also at properties owned by others, in such a manner that

resulted in releases of per- and polyfluoroalkyl substances (PFAS) at levels exceeding applicable

Michigan cleanup criteria for perfluorooctanoic acid (PFOA) and perfluorooctane sulfonate

(PFOS)(collectively or individually “PFCs”), and which may present an imminent and substantial

endangerment to human health and the environment.

        3.       The MDEQ seeks declaratory and injunctive relief establishing that Wolverine’s

historic manufacturing processes and waste management practices present an imminent and

substantial endangerment to human health and the environment; directing Wolverine to:
investigate and assess the location and extent of releases or threatened releases of PFCs into the

environment; develop and implement plans for the continued sampling and analysis of impacts

to drinking water wells from PFAS released or disposed of by Wolverine; and “provide alternate

drinking water supplies to users of drinking water wells impacted by PFCs for which Wolverine is

responsible, including, “connection to municipal drinking water supplies.”

       4.         F.R.Civ.P. 24(a)(2) provides that upon a “timely motion” the Federal Court must

permit anyone to intervene who “claims an interest relating to the transaction that is the subject

of the action and is so situated that disposing of the action may as a practical matter impair or

impede the movant’s ability to protect its interests, unless existing parties adequately represent

that interest.”

       5.         Plainfield operates a municipal water system (“MWS”) within Plainfield and

Algoma, which includes areas that the MDEQ alleges have had groundwater adversely affected

by Wolverine’s alleged actions. Plainfield is the only municipal entity with a MWS that can

provide the relief that the MDEQ seeks in this action.

       6.         With all due respect to the MDEQ and Wolverine, neither adequately represents

Plainfield’s or Algoma’s interest in an extension of the MWS that the MDEQ seeks from this Court

of Wolverine in this action for reasons which include but are not limited to the following:

                  a. Neither has the legal authority to build or operate a MWS in the affected area.

                  b. Neither has the legal authority to compel Plainfield or Algoma to extend the

                     MWS into the affected area.

                  c. Neither has requested that Plainfield or Algoma extend the MWS to the

                     affected area.



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              d. Neither has the engineering expertise to extend the MWS to the affected area.

              e. Neither has financing in place to extend the MWS to the affected area.

              f. Neither knows if the MWS can be extended to the affected area.

              g. Neither knows the pressure districts that exist in the various MWS loops and

                   implement extensions;

              h. Neither knows the status of easements nor has the easements necessary to

                   implement extensions;

              i.   Neither understands the MWS’s plant capacities or changes that are necessary

                   to provide MWS to residents adversely affected by the contamination.

              j.   Neither knows how long it would take to extend MWS to the affected area;

                   and

              k. Neither has to live daily, continuously, or indefinitely with the consequences

                   of extending the MWS to the affected area or the consequences of not

                   extending the MWS to the affected area.

       7.     Plainfield and Algoma believe that the MWS can be extended to most of the

affected area. Indeed, Plainfield and Algoma fully believe that the MWS, where it can be

technically feasible to be extended, is the only viable long-term remedy for the potable water

health threat posed by the alleged contamination for reasons that include the following:

              a. No other alternative will provide a remedy that is free from regular individual

                   property monitoring and regular filter-changing for generations, if not forever;

              b. No other alternative will provide a remedy that is free from property value

                   threatening deed restrictions;



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     c. No other alternative will protect homes from the vagaries and uncertainties of

        plume location, depth and strength, and filter strength and operation;

     d. No other alternative will be monitored and operated by licensed, regulated

        operators on a continuous basis;

     e. No other alternative provides a stable, clean water source that is regularly

        tested and that is continually regulated by employee engineers of Plainfield

        and the State of Michigan as well and outside consulting engineers hired by

        Plainfield and the State of Michigan through standardized regulatory and

        oversight systems that would not be unique to the area;

     f. No other alternative will avoid constant monitoring of properties currently

        outside the current definition of the plumes or below regulatory action level

        to ensure that they do not in the future become so adversely affected as to

        require remedial action either from plume migration or from lowered

        regulatory levels;

     g. No other alternative minimizes the health threats posed by the uncertainties

        of the situation; and

     h. No other alternative will be subject to the regular checks and balances of being

        supervised through the elected, political process by officials who are solely

        elected by, serve and are accountable to the Plainfield and Algoma residents

        affected by this water crisis.

                         JURISDICTION AND VENUE

8.    This Court has federal question jurisdiction over the RCRA claims set forth in the



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Complaint and this Intervening Complaint under Section 7002(a) of RCRA, 42 U.S.C. § 6972(a); the

federal Declaratory Judgment Act, 28 U.S.C. § 2201; and 28 U.S.C. § 1331.

       9.       This Court also has supplemental jurisdiction over the common law nuisance

claims set forth in this Intervening Complaint under 28 U.S.C. § 1367, as they are substantially

related to the RCRA claims and form part of the same case or controversy.

       10.    Venue is proper in this Court under section 7002(a) of RCRA, 42 U.S.C. § 6972(a),

because the Wolverine headquarters and the facilities affected by PFAS attributable to

Wolverine are located within the Western District of Michigan and the alleged endangerment

occurred and continues to occur within the Western District of Michigan.

                                            PARTIES

       11.    MDEQ is a department of the State of Michigan and is responsible for the overall

management and protection of the environmental safety and health of Michigan citizens and

residents. A “State” is included within the definition of “person” under RCRA. 42 U.S.C. §

6903(15).

       12.    Wolverine is a Delaware Corporation with its principal place of business located in

Rockford, Michigan. Pursuant to 42 U.S.C. § 6903(15) and Mich. Comp. Laws § 324.301(h),

Wolverine is a “person” subject to the provisions of RCRA, 42 U.S.C. §§ 6903(15), 6972.

       13.    Plainfield and Algoma are Michigan “townships” located in Kent County, Michigan

and the Western District of Michigan. Their geographical boundaries encompass contaminated

areas as asserted by the MDEQ in this action. They are “municipalities” as intended by Congress

within the definition of “person” under RCRA. 42 U.S.C. § 6903(15), and may, therefore, bring a

citizen suit thereunder. They are the only municipalities authorized under Michigan law to



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operate a MWS within their geographical boundaries. See M.C.L. § 41.411.

                                   COMMON ALLEGATIONS

       14.     The Rockford Tannery is a site located at 123 North Main Street, Rockford,

Michigan. At all times relevant to this litigation, Wolverine has owned the Rockford Tannery.

       15.      Wolverine utilized the Rockford Tannery from 1908 to 2009 to process hides and

leathers for use in shoes, boots, and other consumer leather goods. The Tannery building was

demolished in 2010.

       16.      Buried hides and leathers have been identified at and in the vicinity of the

Rockford Tannery.

       17.      Wolverine disposed of wastes from tannery operations at and near the “House

Street Disposal Site,” a property located at 1855 House Street, Belmont, Michigan, which is

located within Plainfield.

       18.      The House Street Disposal Site was licensed under Act 87 of the Public Acts of

1965 (Act 87) for the disposal of solid waste in 1966. Records from the early 1960s reference

Wolverine’s placement of tannery wastes on the site prior to 1966.

       19.      Wolverine disposed of waste at and near the House Street Disposal Site from the

mid-1950s through 1970. Wolverine has submitted a plan to MDEQ for investigation of the House

Street Disposal Site.

       20.      On information and belief, Wolverine also disposed of tannery wastes in locations

other than the Rockford Tannery and the House Street Disposal Site during a similar period from

the mid-1950s through the 1970s. Most, if not all, of these sites are located in Plainfield and

Algoma.



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       21.      On information and belief, tannery wastes from Wolverine’s Rockford Tannery

contained PFAS from waterproofing operations.

       22.      Wolverine’s manufacturing processes and associated waste management and

disposal activities caused the release of PFCs including per- and polyfluoroalkyl substances (PFAS)

into the environment, including but not limited to perfluorooctanoic acid (PFOA) and

perfluorooctane sulfonate (PFOS).

       23.      The PFCs released by Wolverine have migrated into the environment, including,

but not limited to, surface water, soils, and groundwater, at the Rockford Tannery, the House

Street Disposal Site, and other areas where Wolverine disposed of tannery wastes, including in

groundwater discharging to the Rogue River adjacent to the former Rockford Tannery and into

plumes moving South into Plainfield and North into Algoma.

                     INVESTIGATION AND CHARACTERIZATION ACTIVITIES

       24.      Wolverine performed sampling in 2017 for PFCs both on the Rockford Tannery

property and in the adjacent Rogue River. Results indicated that PFCs are present in the

groundwater onsite, as well as in groundwater discharging to the Rogue River.

       25.      Wolverine collected surface water samples from the Rogue River downgradient

from the former Rockford Tannery in 2017 and detected PFAS in the samples.

       26.      PFCs were also detected in the groundwater discharging to surface water

adjacent to the former Rockford Tannery and in surface water both upstream and downstream

of the Rockford Dam. Results of the sampling demonstrated that groundwater on the Rockford

Tannery site exceed Part 201 groundwater-surface water interface criteria for both PFOA and

PFOS, Part 201 being Michigan’s state law governing drinking water standards, among other



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things.

          27.   Sampling results in groundwater and residential wells indicate that the PFAS have

also migrated from the original locations where disposal activities took place.

          28.    Wolverine has been engaged in the investigation, characterization, and/or

remediation of these PFAS since their discovery in 2017 and has complied with several requests

from MDEQ to conduct investigations, sampling, and action to provide alternate water supplies

at locations suspected or confirmed to have impacts to drinking water sources. Wolverine

conducted PFC sampling at locations including but not limited to described as House Street,

Wolven/Jewell, Wellington Ridge, and Rogue River. MDEQ conducted PFC sampling at the

location depicted on Exhibit A attached to the MDEQ’s complaint and described as North

Childsdale/10 Mile. These areas are located within Plainfield and Algoma.

          29.    As of January 8, 2018, Wolverine has sampled 640 residential drinking water

wells for PFAS due to concerns over the possible migration of PFAS from the House Street Disposal

Site. Of these, 30 residential drinking water wells have tested above the Part 201 generic

residential drinking water cleanup criteria of 70 parts per trillion (combined) established for two

PFAS: PFOA and PFOS. In addition, groundwater at and emanating from the House Street Disposal

Site exceeds Part 201 groundwater-surface water interface criteria for PFOS.

          30.   On information and belief, Wolverine has offered bottled water to all residents

whose wells it has sampled for PFCs. In addition, as of January 8, 2018, Wolverine has installed

90 point-of-use filtration systems and 410 point-of-entry filtration systems based on PFC sampling

results. Wolverine has also begun a remedial investigation of the House Street Disposal Site

groundwater plume to define the horizontal and vertical extent of PFC contamination as well as



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potential PFC impacts to surface waters.

       31.      As of January 8, 2018, Wolverine has sampled 549 residential wells for PFCs in

association with locations in Kent County, other than the Rockford Tannery and the House Street

Disposal Site, where Wolverine tannery wastes may have been disposed and released PFCs into

the environment. Of these, 48 residential drinking water wells have tested above the Part 201

generic residential drinking water cleanup criteria for PFOA and PFOS.

       32.      As is further outlined below, while Wolverine has been engaged in the

investigation, characterization, and/or remediation of PFC-related contamination and wastes

since their discovery in 2017, on information and belief, these Part 201 PFC hazardous substances,

contaminants and wastes continue to be present in the soil, surface water, and groundwater at

the Rockford Tannery, the House Street Disposal Site, and other disposal sites still being

identified, and in groundwater discharging to the Rogue River adjacent to the Rockford Tannery

at unsafe levels and in plumes across large sections of Plainfield and Algoma.

       33.      Wolverine has also been involved in extensive discussions with Plainfield

regarding the extension of MWS to affected areas and Plainfield has incurred and will incur

expenses and damages in providing such clean MWS to the affected areas, although, on

information and belief, Wolverine does not believe it can contractually commit to Plainfield until

the present lawsuit is resolved and that any such commitment must be consistent with and/or a

part of any decree approved or issued by this Court in this case.

                                    CLAIMS FOR RELIEF

             COUNT I: RCRA – IMMINENT AND SUBSTANTIAL ENDANGERMENT

       34.      Plainfield and Algoma reallege and incorporate by reference paragraphs 1



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through 33 of this Intervening Plaintiffs’ Complaint as if fully set forth herein.

       35.       Section 7002(a)(l)(B) of RCRA, 42 U.S.C. § 6972(a)(l)(B), under which Plainfield and

Algoma bring this claim, is RCRA’s citizen enforcement provision. Section 7002(a)(l)(B) authorizes

“any person,” which includes Plainfield and Algoma, to seek redress in federal court for risks

posed to public health and the environment by “hazardous wastes” and “solid wastes.” A Section

7002(a)(l)(B) claim alleges endangerment to health or environment rather than a statutory

violation.

       36.       Any person may bring a lawsuit under RCRA § 7002(a)(1)(B) when: (a) a “solid or

hazardous waste”; (b) “may present an imminent and substantial endangerment to health or the

environment”; and (c) the defendant falls within one of the categories of entities that Congress

declared liable for taking abatement action or such other action as a court determines may be

necessary.

       37.       The persons declared liable by Congress for abatement of endangerments under

RCRA § 7002(a)(l)(B) are entities that contributed to “past or present handling, storage,

treatment, transportation, or disposal” of the “solid wastes” at issue.

       38.       For purposes of RCRA § 7002(a)(l)(B) citizen suits, substances qualify as “solid

wastes” when the above statutory definition as set forth in RCRA § 1004(27) is met.

       39.       The tannery wastes containing and leaching PFAS contaminants, including PFOA

and PFOS, into the environment are solid wastes because they constitute discarded materials

resulting from Wolverine’s industrial and commercial operations.

       40.       According to the U.S. EPA, human exposure to PFOA and PFOS and other PFCs

may result in adverse health effects to humans such as developmental, thyroid, liver, and immune



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system effects.

       41.        Wolverine has caused or contributed to a condition that presents or may present

an imminent and substantial endangerment to health or the environment because Wolverine

released “solid wastes” into the environment.

       42.        Wolverine has caused or contributed to a condition that may present an

imminent and substantial endangerment to health or the environment because Wolverine: (a)

owned the Rockford Tannery and the House Street Disposal Site at the time that the release of

the “solid wastes” from these sites occurred and yet failed to prevent that release of the “solid

wastes”; or (b) failed to investigate and abate the “solid waste” contamination once the release

of the “solid wastes” occurred at the Rockford Tannery, the House Street Disposal Site, and other

areas where Wolverine disposed of tannery wastes.

       43.        Under Section 1004(27) of RCRA, 42 U.S.C. § 6903(27), “solid waste” is “discarded

material, including solid, liquid, semisolid, or contained gaseous material resulting from

industrial, commercial, mining, and agricultural operations, and from community activities.”

       44.        Plainfield and Algoma are entitled to relief under RCRA § 7002(a), 42 U.S.C. §

6972(a), requiring Wolverine to take such action as may be necessary to abate the imminent and

substantial endangerment to public health and the environment based on the disposal of “solid

wastes” that present an imminent and substantial endangerment to public health and the

environment and to provide damages proximately caused to Plainfield and Algoma to provide

clean MWS as a remedy necessitated by such releases as described above and below in this

Complaint.




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                    COUNT II: VIOLATIONS OF COMMON LAW NUISANCE

       45.     Plainfield and Algoma reallege and incorporate by reference paragraphs 1 through

44 of this Intervening Plaintiff’s Complaint as if fully set forth herein.

       46.     Plainfield and Algoma have a private and public right to be free from interference

in the planning and delivery of safe drinking water to their residents and to be free of the

damages previously described above.

       47.     Wolverine has unreasonably and significantly interfered with Plainfield and

Algoma’s private and public rights as stated above by contaminating the well drinking water, as

described above, of many of their residents in the areas described above within Plainfield and

Algoma, thereby forcing Plainfield and Algoma to plan for, engineer and deliver Plainfield’s clean

MWS to those residents to protect their health and safety, peace, property, comfort and/or

convenience.

       48.     Wolverine knew, or should have known, that its unreasonable and significant

interference would produce a permanent or long-lasting infringement on Plainfield and Algoma’s

rights as stated above and force it to incur the costs and damages described above.

       49.     Wolverine’s actions in contaminating the well water and discharging PFAS and

related hazardous compounds into the groundwater as alleged above have created a public and

private nuisance entitling Plainfield and Algoma to recover their costs in the planning, designing,

engineering, construction, financing, implementation and operation of MWS improvements and

extensions into and for their residents in the affected areas, including but not limited to new

filtering in Plainfield’s water treatment plant in order to provide clean, water free of PFAS or

related compounds in order to meet the health and safety needs of their residents unduly



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exposed to such compounds by the nuisance caused by Wolverine.

       50.    The nuisance caused by Wolverine, as described above, is the direct and

proximate cause of Plainfield’s and Algoma’s MWS costs and damages as described above.

                                      RELIEF REQUESTED

       WHEREFORE, Plainfield and Algoma respectfully request that the Court enter judgment

awarding them the following relief:

A.     Declare and adjudge that Wolverine’s past and/or present generation, handling, storage,

       treatment, transportation, and/or disposal of solid wastes presents, or may present, an

       imminent and substantial endangerment to human health and to the environment under

       RCRA Section 7002(a)(1)(B) and constitute a public nuisance;

B.     Order Wolverine to abate the public health threats caused by its RCRA violation and public

       nuisance, specifically its discharge of injurious substances into the groundwater, by

       reimbursing Plainfield and Algoma for their costs in the planning, designing, engineering,

       construction, financing, implementation and operation of MWS improvements and

       extensions into and for their residents in the affected areas, including but not limited to

       new filtering in Plainfield’s water treatment plant in order to provide clean, water free of

       PFAS or related compounds in order to meet the health and safety needs of their residents

       unduly exposed to such compounds.




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C.    Such other relief as the Court deems just and proper, including but not limited to costs

      and damages as described above and in this Complaint.

March 14, 2018                     Respectfully Submitted,

                                   Silver & Van Essen, P.C.
                                   Attorneys for The Charter Township of Plainfield and
                                   Algoma Township

                                   By:\s\Douglas W. Van Essen________
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